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               EXHIBIT A
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 1    Greg D. Andres
      Antonio J. Perez-Marques
 2    Craig T. Cagney
 3     (admitted pro hac vice)
      DAVIS POLK & WARDWELL LLP
 4    450 Lexington Avenue
      New York, New York 10017
 5    Telephone: (212) 450-4000
      Facsimile: (212) 701-5800
 6
      Email: greg.andres@davispolk.com
 7             antonio.perez@davispolk.com
               craig.cagney@davispolk.com
 8
      Micah G. Block (SBN 270712)
 9    DAVIS POLK & WARDWELL LLP
      1600 El Camino Real
10    Menlo Park, California 94025
      Telephone: (650) 752-2000
11
      Facsimile: (650) 752-2111
12    Email: micah.block@davispolk.com

13   Attorneys for Plaintiffs WhatsApp LLC and Meta
     Platforms, Inc.
14

15                               UNITED STATES DISTRICT COURT

16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                      OAKLAND DIVISION

18    WHATSAPP LLC, a Delaware corporation,
                                        )
      and META PLATFORMS, INC., a Delaware
                                        )             Case No. 4:19-cv-07123-PJH
19    corporation,                      )
                                        )
20                    Plaintiffs,       )             SUPPLEMENTAL BRIEF IN SUPPORT
                                        )             OF ADMINISTRATIVE MOTION FOR
21           v.                         )             AN ORDER REGARDING NSO’S
                                        )             DOCUMENT PRESERVATION
22    NSO GROUP TECHNOLOGIES LIMITED )                OBLIGATIONS
      and Q CYBER TECHNOLOGIES LIMITED, )
23                                      )
                      Defendants.       )
24                                      )

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 1          Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) respectfully supplement

 2   their motion pursuant to Civil Local Rule 7-11

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     SUPPLEMENTAL BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION FOR AN ORDER REGARDING NSO’S DOCUMENT
     PRESERVATION OBLIGATIONS
     CASE NO. 4:19-CV-07123-PJH
        Case 4:19-cv-07123-PJH Document 202-6 Filed 08/21/23 Page 4 of 5




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15                                                                                  Plaintiffs request that

16   the Court either enter an order requiring NSO to take steps to maintain the status quo pending

17   resolution of their Motion for Protective Order, or that the Court set a status conference to address

18   these developments.

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     SUPPLEMENTAL BRIEF IN SUPPORT OF ADMINISTRATIVE MOTION FOR AN ORDER REGARDING NSO’S DOCUMENT
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     CASE NO. 4:19-CV-07123-PJH
        Case 4:19-cv-07123-PJH Document 202-6 Filed 08/21/23 Page 5 of 5




 1    Dated: August 21, 2023                     Respectfully Submitted,

 2                                               DAVIS POLK & WARDWELL LLP
 3
                                                 By: /s/ Micah G. Block
 4                                                   Greg D. Andres
 5                                                   Antonio J. Perez-Marques
                                                     Craig T. Cagney
 6                                                     (admitted pro hac vice)
                                                     DAVIS POLK & WARDWELL LLP
 7                                                   450 Lexington Avenue
                                                     New York, New York 10017
 8
                                                     Telephone: (212) 450-4000
 9                                                   Facsimile: (212) 701-5800
                                                     Email: greg.andres@davispolk.com
10                                                          antonio.perez@davispolk.com
                                                            craig.cagney@davispolk.com
11
                                                      Micah G. Block (SBN 270712)
12
                                                      DAVIS POLK & WARDWELL LLP
13                                                    1600 El Camino Real
                                                      Menlo Park, California 94025
14                                                    Telephone: (650) 752-2000
                                                      Facsimile: (650) 752-2111
15                                                    Email: micah.block@davispolk.com
16
                                                      Attorneys for Plaintiffs WhatsApp LLC and
17                                                    Meta Platforms, Inc.

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